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                           IN THE UNITED STATES BANKRUPTCY COURT
                                FOR THE DISTRICT OF DELAWARE


    In re:                                                             Chapter 11

    FRANCHISE GROUP, INC., et al.,                                     Case No. 24-12480 (JTD)

                                   Debtors.1                           (Jointly Administered)


                                                                       Re: D.I. 192

       THE OFFICIAL COMMITTEE OF UNSECURED CREDITORS’ RESPONSE TO
             MOTION OF THE AD HOC GROUP OF FREEDOM LENDERS FOR
                ENTRY OF AN ORDER (I) TERMINATING EXCLUSIVITY
                   IN THE HOLDCO DEBTORS’ CASES, (II) LIFTING
             THE AUTOMATIC STAY IN THE HOLDCO DEBTORS’ CASES, OR
       (III) APPOINTING A CHAPTER 11 TRUSTEE FOR THE HOLDCO DEBTORS




1
      The Debtors in these Chapter 11 Cases, along with the last four digits of their U.S. federal tax identification
      numbers, to the extent applicable, are Franchise Group, Inc. (1876), Freedom VCM Holdings, LLC (1225),
      Freedom VCM Interco Holdings, Inc. (2436), Freedom Receivables II, LLC (4066), Freedom VCM Receivables,
      Inc. (0028), Freedom VCM Interco, Inc. (3661), Freedom VCM, Inc. (3091), Franchise Group New Holdco, LLC
      (0444), American Freight FFO, LLC (5743), Franchise Group Acquisition TM, LLC (3068), Franchise Group
      Intermediate Holdco, LLC (1587), Franchise Group Intermediate L, LLC (9486), Franchise Group Newco
      Intermediate AF, LLC (8288), American Freight Group, LLC (2066), American Freight Holdings, LLC (8271),
      American Freight, LLC (5940), American Freight Management Company, LLC (1215), Franchise Group
      Intermediate S, LLC (5408), Franchise Group Newco S, LLC (1814), American Freight Franchising, LLC (1353),
      Home & Appliance Outlet, LLC (n/a), American Freight Outlet Stores, LLC (9573), American Freight Franchisor,
      LLC (2123), Franchise Group Intermediate B, LLC (7836), Buddy's Newco, LLC (5404), Buddy’s Franchising
      and Licensing LLC (9968), Franchise Group Intermediate V, LLC (5958), Franchise Group Newco V, LLC
      (9746), Franchise Group Intermediate BHF, LLC (8260); Franchise Group Newco BHF, LLC (4123); Valor
      Acquisition, LLC (3490), Vitamin Shoppe Industries LLC (3785), Vitamin Shoppe Global, LLC (1168), Vitamin
      Shoppe Mariner, LLC (6298), Vitamin Shoppe Procurement Services, LLC (8021), Vitamin Shoppe Franchising,
      LLC (8271), Vitamin Shoppe Florida, LLC (6590), Betancourt Sports Nutrition, LLC (0470), Franchise Group
      Intermediate PSP, LLC (5965), Franchise Group Newco PSP, LLC (2323), PSP Midco, LLC (6507), Pet Supplies
      “Plus”, LLC (5852), PSP Group, LLC (5944), PSP Service Newco, LLC (6414), WNW Franchising , LLC (9398),
      WNW Stores, LLC (n/a), PSP Stores, LLC (9049), PSP Franchising, LLC (4978), PSP Subco, LLC (6489), PSP
      Distribution, LLC (5242), Franchise Group Intermediate SL, LLC (2695), Franchise Group Newco SL, LLC
      (7697), and Educate, Inc. (5722). The Debtors’ headquarters is located at 109 Innovation Court, Suite J, Delaware,
      Ohio 43015.



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          The Official Committee of Unsecured Creditors (the “Committee”) of Franchise Group,

Inc. and its debtor affiliates (collectively, the “Debtors”) in the above-captioned chapter 11 cases

(the “Chapter 11 Cases”), by and through its undersigned proposed counsel, hereby files this

response (this “Response”) to the Motion of the Ad Hoc Group of Freedom Lenders for Entry of

an Order (I) Terminating Exclusivity in the HoldCo Debtors’ Cases, (II) Lifting the Automatic Stay

in the HoldCo Debtors’ Cases or (III) Appointing a Chapter 11 Trustee for the HoldCo Debtors

[D.I. 192] (the “Motion”)2 filed by the Ad Hoc Group of Freedom Lenders (the “Freedom Lender

Group”). In response to the Motion, the Committee respectfully states as follows:

                                         PRELIMINARY STATEMENT

          1.        The Committee agrees that (a) the Debtors’ Proposed Plan is unconfirmable and not

in the best interests of creditors and (b) a thorough investigation of claims must be conducted on

behalf of each Debtor (including both the OpCo Debtors and the HoldCo Debtors) by a truly

independent fiduciary, rather than being released for no value. But the relief sought in the Motion

is, in the Freedom Lender Group’s counsel’s own words, the “nuclear war button,” which would

throw these nascent Chapter 11 Cases into chaos. The nuclear option is unwarranted, and the

issues raised in the Motion can be resolved by simply appointing the Committee – an independent

estate fiduciary – to investigate the alleged estates’ claims and causes of action and to report back

to this Court.




2
     Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in the
     Motion.



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          2.        However, in no event should the Court grant the relief requested in the Motion,

which would be materially detrimental to all stakeholders other than the two junior investors that

comprise the Freedom Lender Group.3

          3.        First, it would be truly unprecedented for the Court to terminate exclusivity with

respect to a single member of a large, corporate enterprise just weeks after the commencement of

complex chapter 11 cases like these. The Freedom Lender Group fails to cite any relevant authority

in which a court terminated exclusivity under similar circumstances. Courts impose a very heavy

burden on a party moving to terminate a debtor’s exclusivity within the statutory period. The

Freedom Lender Group has failed to carry that burden.

          4.        Second, the Freedom Lender Group fails to demonstrate that cause exists to

terminate the automatic stay to permit the HoldCo Lenders to foreclose on the equity in the OpCo

Debtors. The Freedom Lender Group, which has the burden of proof, has failed to present any

evidence that their claims are secured by property of any value or that their collateral (to the extent

it has value) is declining in value to warrant any adequate protection. No cause exists to grant two

junior creditors relief from stay, especially when granting such a request would give those junior

creditors control over the management of all Debtors and completely upend these Chapter 11 Cases

at their inception.

          5.        Finally, the Freedom Lender Group fails to demonstrate that a chapter 11 trustee

should be appointed for the HoldCo Debtors. While the Committee agrees that the terms of the

Proposed Plan must be reworked and that potential claims must be investigated by an independent

fiduciary, those goals should be reasonably achievable without undermining any opportunity for a




3
     See Verified Statement of the Ad Hoc Group of Freedom Lenders Pursuant to Rule 2019 of the Federal Rules of
     Bankruptcy Procedure [D.I. 229].



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successful reorganization, including by introducing an immediate default under the DIP Facility.

The Committee – a neutral, well-represented fiduciary of each Debtor’s estate – is well-positioned

to conduct any investigations and to maximize the value of any claims.

          6.        Moreover, nearly every argument made in the Motion is based upon what is almost

certainly a false premise: that the HoldCo Lenders should effectively be handed control over each

of the Debtor’s cases – at the expense of every other interested party – because the HoldCo

Lenders are the HoldCo Debtors’ only creditors. Putting aside the untenable legal conclusion that

two individual creditors should be given immediate control over complex chapter 11 cases simply

because they (like the Committee) oppose the Debtors’ first proposed plan of reorganization, it

cannot be presumed that the HoldCo Debtors have no other creditors. A claims bar date has not

yet been set in these cases and, to the extent there are other creditors at the HoldCo Debtors –

which is not yet known – the Freedom Lender Group does not represent them (or any other

stakeholder in this case) and has no fiduciary duty to the Debtors’ estates.

          7.        Finally, the relief sought in the Motion – including the termination of exclusivity

with respect to a single debtor in a complex, multi-debtor case and the appointment of a chapter

11 trustee – is similar to the relief previously sought by counsel to the Freedom Lender Group in

In re Adelphia Communications Corp., 336 B.R. 610, 618 (Bankr. S.D.N.Y. 2006) [hereafter,

“Adelphia”], aff'd 342 B.R. 122 (S.D.N.Y. 2006). The Adelphia court (quoting counsel) described

the requested relief as the “nuclear war button” and found that granting such relief would have

“devastatingly adverse consequences . . . too numerous to list. . . .” Id. at 618. These Chapter 11

Cases have been pending for less than a month, and the consequences of granting the Motion at

this time would be no less devastating here. The Motion should be denied and the Committee




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should be appointed to investigate the various claims and causes of action against the Debtors,

their management, and their insiders and to report back to this Court.

                                            BACKGROUND

          8.        On November 3, 2024 (the “Petition Date”), each of the Debtors filed voluntary

petitions under chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) in this

Court, thereby commencing the Chapter 11 Cases.

          9.        On November 19, 2024, the Office of the United States Trustee (the “U.S. Trustee”)

appointed the Committee pursuant to section 1102 of the Bankruptcy Code. See D.I. 188. On

November 21, 2024, the Committee selected Pachulski Stang Ziehl & Jones LLP to serve as its

counsel and Province, LLC, to serve as its financial advisor. Thereafter, on November 25, 2024,

the Committee selected Perella Weinberg Partners LP to serve as its investment banker.

          10.       The HoldCo Lenders extended the $475 million HoldCo Facility to Freedom VCM,

Inc., in August 2023 in connection with the Take-Private Transaction. See Mtn. ¶1. The HoldCo

Lenders originally had recourse only against the HoldCo Debtors, which had no operations or

assets aside from equity in subsidiaries. Id. at 1, 15. By design, the proceeds of the HoldCo Loans

“were used exclusively to purchase the shares of the Company’s public shareholders for $30 per

share.” Id. at 1. With the knowledge and consent of the Freedom Lender Group, the proceeds of

the HoldCo Facility were used “to facilitate the payment to the Company’s existing shareholders

. . . [and] down-streamed to the OpCo Debtors.” Id. at ¶14. Thus, the HoldCo Lenders

intentionally loaned money into the most junior part of the Debtors’ capital structure with full

knowledge that the proceeds of their loans would not be retained by the HoldCo Debtors.

          11.       A claims bar date has not yet been set and the claims pool is not presently known,

yet the Freedom Lender Group asserts in the Motion without any support that “the OpCo Debtors




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and the HoldCo Debtors have entirely different creditor bodies.” Id. at 7. Moreover, the Freedom

Lender Group acknowledges that the estates are intertwined; the OpCo Debtors guaranteed a

portion of the HoldCo Facility. Id. at 15.

          12.       The Freedom Lender Group states that it engaged the Debtors in discussions

concerning the Proposed Plan on November 11, 2024, the same day that the Debtors filed the

Proposed Plan. Id. at 20. The Freedom Lender Group drafted a separate proposed plan of

reorganization solely for the HoldCo Debtors, which it claims was first sent to the Debtors on

November 15, 2024, without first engaging the Debtors in meaningful negotiations. Id. at 26-27.

The Freedom Lender Group then filed the Motion on November 20, 2024, less than three weeks

after the Petition Date and less than ten days after the Freedom Lender Group appears to have first

engaged with the Debtors concerning the plan process. The Adelphia court found that a similar

motion to terminate exclusivity and/or appoint a trustee was nothing more than a litigation tactic.

Like in Adelphia, the Freedom Lender Group’s tactic should fail here.

                                               RESPONSE

A.        No Cause Exists to Terminate Exclusivity With Respect to the HoldCo Debtors

          13.       Section 1121(b) grants the debtor the exclusive right “to file a plan until after 120

days after the date of the order for relief under this chapter.” 11 U.S.C. § 1121(b). Section 1121(d)

authorizes a bankruptcy court to “reduce or increase” the debtor's exclusive period for “cause.” 11

U.S.C. § 1121(d). The party seeking to reduce or increase the exclusive period under Section

1121(d) has the burden of establishing that “cause” exists. See, e.g., In re LeHigh Valley Prof’l

Sports Clubs, Inc., 2000 Bankr. LEXIS 237, at *9 (Bankr. E.D. Pa. Mar. 14, 2000). When the

requested change to the exclusive period “is a reduction in the statutory period, the burden is

especially heavy.” Id.; see also In re Excel Mar. Carriers Ltd., 2013 Bankr. LEXIS 3920, at *3




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(Bankr. S.D.N.Y. Sept. 13, 2013) (“[T]erminating exclusivity—particularly during the initial

exclusivity period is an extraordinary thing in a bankruptcy case.”); Geriatrics Nursing Home v.

First Fidelity Bankr, N.A. (In re Geriatrics Nursing Home), 187 B.R. 128, 132 (D. N.J. 1995) (“A

party in interest which seeks to establish ‘cause’ to terminate the exclusivity period ‘bears a heavy

burden.’”) (citations omitted).

          14.       Courts have considered a number of factors in determining whether “cause” exists

to reduce or increase the exclusivity period; however, “displeasure with a plan on file is not one of

the enumerated factors, and is not a basis for terminating exclusivity. Nor, without more, is creditor

constituency unhappiness with a debtor’s plan proposals, with or without a formal plan on file.”

In re Adelphia Communications Corp., 352 B.R. 578, 587 (Bankr. S.D.N.Y. 2006).4 “The mere

fact that key players want a competing plan is not sufficient cause to terminate a debtor’s exclusive

periods.” Excel Mar., 2013 Bankr. LEXIS 3920, at *4; see also Geriatrics Nursing Home, 187

B.R. at 134 (“The Court is not satisfied that statements made by creditors . . . that they were

prepared to offer more favorable plans if the court were to terminate the exclusivity period

constitutes sufficient cause to cut short [the exclusivity period]. . . . Further, the Court cannot

conclude . . . that the fact that one creditor constituency is not happy with the debtor’s plan

constitutes cause to undermine the debtor’s chances of winning final confirmation of its plan

during the exclusivity period.”).




4
     The court in Adelphia enumerated the following factors: (a) the size and complexity of the case; (b) the necessity
     for sufficient time to permit the debtor to negotiate a plan of reorganization and prepare adequate information; (c)
     the existence of good faith progress toward reorganization; (d) the fact that the debtor is paying its bills as they
     become due; (e) whether the debtor has demonstrated reasonable prospects for filing a viable plan; (f) whether
     the debtor has made progress in negotiations with its creditors; (g) the amount of time which has elapsed in the
     case; (h) whether the debtor is seeking an extension of exclusivity in order to pressure creditors to submit to the
     debtor's reorganization demands; and (i) whether an unresolved contingency exists. Id.



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          15.       The Freedom Lender Group contends that the HoldCo Debtors’ right of exclusivity

should be terminated for “cause” just one month into these cases because the HoldCo Lenders

allegedly represent the HoldCo Debtors’ only creditors and the Proposed HoldCo Plan cannot be

confirmed over their objection. See Mtn. ¶32. The Freedom Lender Group further contends that

“cause” exists to terminate exclusivity because these Chapter 11 Cases are not complex, id. at 37,

and attempting to negotiate a plan would be futile because the Debtors failed to reach consensus

with the Freedom Lender Group after less than ten days of minimal engagement between the

parties. Id. at 38, 40-41.

          16.       The Freedom Lender Group has failed to carry its “extremely heavy burden” for

obtaining the “extraordinary” relief it seeks. The Court has yet to set a claims bar date in these

Chapter 11 Cases and it is presently unknown what claims may be filed against the HoldCo

Debtors. The Committee understands that claims in significant number and amount may be filed

by unsecured creditors against the HoldCo Debtors. The interests of these creditors (and the

interests of every other stakeholder of every other Debtor) should not be prejudiced simply because

two sophisticated investment funds have determined to pursue a hyper-aggressive and value-

destructive litigation strategy at the outset of these cases. In any event, it cannot be presumed – as

the Freedom Lender Group does throughout the Motion – that the HoldCo Lenders are the only

claimants with an interest in the outcome of the HoldCo Debtors’ Chapter 11 Cases and that they

should, therefore, be permitted to undermine the Debtors' prospects for a consensual

reorganization.

          17.       Furthermore, the Freedom Lender Group’s application of the Adelphia factors is

not persuasive. These are large and complex cases. Little time has passed since the Petition Date.

And, the parties have not had any meaningful opportunity to negotiate the terms of an amended




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plan. The Freedom Lender Group fails to cite any decision in which a court terminated exclusivity

under similar circumstances. Instead, the Freedom Lender Group relies primarily on three hearing

transcripts from cases that are not analogous and that are factually inapposite.5

          18.       The Adelphia court also denied a motion to terminate exclusivity under similar

circumstances. In Adelphia, a creditor group (represented by the same counsel that represents the

Freedom Lender Group here) moved to terminate exclusivity and to appoint a chapter 11 trustee

for certain debtors in a large, multi-debtor case, due to alleged conflicts of interest arising from

intercompany claims among the debtors. See Adelphia, 336 B.R. at 618. After a thorough analysis,

the court rejected the motion to terminate exclusivity, finding that the debtors had not abused the

process, were working cooperatively with constituents, and the moving creditors’ dissatisfaction

with the plan was not grounds for terminating exclusivity. Id., at 675-77. In doing so, the Adelphia

court expressly found that a creditor’s parochial interest did not constitute ‘cause’ to terminate

exclusivity. Id., at 676 (“[T]he notion that creditor constituency unhappiness, without more,

constitutes cause to undermine the debtor’s chances of winning final confirmation of its plan




5
     The only case cited in the Motion involving a “holdco/opco” structure is In re Lucky Bucks, see Mtn. ¶ 29, but
     exclusivity was not even at issue in that case. Indeed, the Freedom Lender Group urges the Court not to adopt
     here the relief that was imposed in that case. Id. ¶ 30. Moreover, the facts of Lucky Bucks are easily
     distinguishable from those here. Among other things, the debtors in Lucky Bucks conceded that certain creditors
     (whose claims were not guaranteed by the other debtors) unanimously represented the only impaired class at the
     parent entity, a plan for the parent could not be confirmed without the consent of those creditors, the debtors’ pre-
     solicited plan had already been rejected unanimously by that class, the only purpose of the plan for the parent was
     to obtain insider releases, and the subsidiaries' reorganizations were not dependent upon the parent’s. In re Lucky
     Bucks, LLC, et al, Case No. 23-10758 (KBO) (Bankr. D. Del.), Hr’g Tr. 7:17-25-18:1-7, 9:11-25-10:1, 72:17-25-
     73:1-21, D.I. 133. In fact, the debtors’ joint plan expressly provided for the parent’s plan to be severed in certain
     circumstances. See, e.g., id., at 58:7-14. See also In re TCI2 Holdings, LLC, Case No. 09-13654 (JHW) (Bankr.
     D.N.J. 2009), Hr’g Tr. 85:15-25-94:1-17 D.I. 621 (terminating exclusivity only after debtors’ original exclusivity
     period expired, after the court extended the debtor's exclusivity period further, and after debtors filed a plan that
     was found to not be confirmable); In re Pliant Corp., Case No. 09-10443 (MFW) (Bankr. D. Del. 2009), Hr’g Tr.
     228:13-25-231:1-4, D.I. 765 (terminating exclusivity as to all debtors to permit competing plan to be solicited
     simultaneously with the debtors' plan, where competing plan provided objectively better treatment to all
     creditors).



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during the exclusivity period has been judicially rejected.”) (citing Geriatrics Nursing Home, 187

B.R. at 134).

          19.       It would be unprecedented for this Court to terminate exclusivity with respect to a

single Debtor in the context of large, multi-debtor chapter 11 cases under these circumstances. The

Proposed Plan is not confirmable and needs substantial revisions.                           However, terminating

exclusivity one month into the case and before the parties have had an opportunity to engage in

any meaningful negotiations is not the right answer.

B.        No Cause Exists to Grant the Freedom Lender Group Relief From Stay

          20.       The Freedom Lender Group alternatively seeks relief from the automatic stay to

permit the HoldCo Lenders to foreclose on the equity interests in the Company, a large operating

Debtor, in order to exercise their voting rights in the equity. The Freedom Lender Group asserts

that “cause” exists for granting such relief solely because the HoldCo Lenders are secured creditors

that have not been provided with adequate protection. See Mtn. ¶¶ 46-50. This request should be

denied.

          21.       Under Section 365(g)(1), the movant has the “burden of proof on the issue of the

debtor’s equity in property.” Yet, the Freedom Lender Group makes no effort to substantiate its

claim that the HoldCo Lenders’ collateral has value,6 that the value of its collateral is declining, or

otherwise to establish its prima facie case that “cause” exists to terminate the stay. See, e.g., In re

RNI Wind Down Corp., 348 B.R. 286, 299 (Bankr. D. Del. 2006) aff’d, 359 F. App’x 352 (3d Cir.

2010) (“[T]he moving party first must establish its prima facie case. Failure to prove a prima facie

case requires denial of the requested relief.”) (citing Sonnax Industries, Inc. v. Tri Component


6
     The HoldCo Lenders have not established that they have a valid or enforceable lien on, or security interest in, any
     commercial tort claims because no such claims are specifically identified in the loan and security documentation
     relating to the HoldCo Facility as required by the Uniform Commercial Code. The HoldCo Lenders also do not
     have any liens on, or security interests in, avoidance actions or the proceeds thereof.



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Prods. Corp. (In re Sonnax Industries, Inc.), 907 F.2d 1280, 1285 (2d Cir. 1990)). “[T]he secured

creditor lacks adequate protection if the value of its collateral is declining as a result of the stay. It

must, therefore, prove this decline in value – or the threat of a decline – in order to establish a

prima facie case.” In re Elmira Litho, Inc., 174 B.R. 892, 902 (Bankr. S.D.N.Y. 1994). The

Freedom Lender Group has failed to prove that the HoldCo Lenders hold even a partially secured

claim or that the value of their collateral is declining. The Freedom Lender Group is, therefore,

not entitled to adequate protection and no cause exists to terminate the stay.7

          22.       The Freedom Lender Group seeks to terminate the automatic stay, not to protect the

value of its collateral, but to secure the right to appoint the management of (a) the HoldCo Debtors,

and (b) because the HoldCo Debtors can vote their equity to replace management at the OpCo

Debtors, the OpCo Debtors. See Mtn. ¶ 50. In other words, the Freedom Lender Group, without

any evidence of “cause,” wants to use Section 362 as a backdoor to Section 1104 and to replace

current management with management that will serve the Freedom Lender Group’s parochial

interest rather than the interests of the Debtors’ stakeholders as a whole. Not surprisingly, the




7
     The Freedom Lender Group cites only to In re Munoz, 83 B.R. 334 (Bankr. E.D. Pa. 1988) in support of its
     argument that the equity in the Company must be deemed to have value absent evidence to the contrary. See Mtn.
     ¶ 49. Munoz does not stand for that proposition. The court in Munoz concluded, after considering evidence of
     the value of certain pledged equity, including expert testimony, that the equity was “worth substantially in excess
     of” the amount the debtor proposed to pay the secured creditor under a plan. Id. at 336. No such evidence of
     value has been presented here.



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Freedom Lender Group fails to cite any decision in which a court granted such relief in a case

involving similar circumstances.8

C.        No Grounds Exist to Appoint a Chapter 11 Trustee

          23.       The Freedom Lender Group finally seeks as alternative relief the appointment of a

chapter 11 trustee for the HoldCo Debtors. This request must also be denied. The appointment of

a trustee under Section 1104 is an “extraordinary remedy that is the exception, and not the rule.”

U.S. Bank. Nat’l Assoc. v. Wilmington Trust Co. (In re Spansion, Inc.), 426 B.R. 114, 128 (Bankr.

D. Del. 2010); see also Sharon Steel Corp., 871 F.2d 1217, 1125 (3d Cir. 1989) (“It is settled that

appointment of a trustee should be the exception, rather than the rule.”) (citing cases); In re Marvel

Entm’t Grp., 140 F.3d 463, 471 (3d Cir. 1998) (same).

          24.       The moving party has the burden of proving the “need for a trustee under either

subsection [of Section 1104(a)] by clear and convincing evidence.” Marvel, 140 F.3d at 471; see

also Sharon Steel, 871 F.2d at 1125 (citing cases). “[T]he standard for § 1104 appointment is very

high . . . .” Adams v. Marwil (In re Bayou Group, LLC), 564 F.3d 541, 546 (quoting Smart World

Techs., LLC v. Juno Online Servs., Inc. (In re Smart World Techs., LLC), 423 F.3d 166, 176 (2d

Cir. 2005)). In the Third Circuit, there is a “strong presumption” that “current management is

generally best suited to orchestrate the process of rehabilitation . . . .” Id.9


8
     In addition to Munoz, which is distinguishable for the reasons explained above, the remaining cases cited in the
     Motion involved small debtors that pledged equity in small, closely-held non-debtor entities. These cases bear
     no resemblance to the Debtors' Chapter 11 Cases. See In re Gilece, 7 B.R. 469, 471-72 (Bankr. E.D. Pa. 1980)
     (movant presented “extensive expert valuation testimony” showing that the “debtor has no equity in the collateral”
     and that cause existed to terminate the automatic stay); In re William A. Smith Constr. Co., 86 B.R. 115, 118-19
     (Bankr. N.D. Oh. 1988) (movant sought relief from the automatic stay under Sections 362(d)(1) and (2) and
     carried its “burden of proof … to establish that the Debtor has no equity in the property”); In re Sears, 2010 Bankr.
     LEXIS 1130, at *2-7 (Bankr. D. Neb. Apr. 12, 2010) (addressing whether creditor who sold stock in family
     business to two individual debtors should be granted relief from stay to exercise “voting and other rights” with
     respect to the company but providing no analysis regarding the value of the stock or whether there was any value
     that required adequate protection).
9
     The Freedom Lender Group cites Marvel for the proposition that the presumption in favor of preserving current
     management should not apply because the Debtors’ management has been in place less than a year. See Mtn. ¶


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          25.       Section 1104(a)(1) provides that a trustee shall be appointed for "cause, including

fraud, dishonesty, incompetence, or gross mismanagement of the affairs of the debtor by current

management.” 11 U.S.C. § 1104(a)(1). The Freedom Lender Group has not alleged fraud,

dishonesty, incompetence, or gross mismanagement here. Instead, it asserts that a chapter 11

trustee is warranted because (i) the HoldCo Lenders are the HoldCo Debtors’ only creditors; (ii)

the OpCo Debtors have different assets and liabilities and debt obligations from the HoldCo

Debtors; (iii) the Debtors have overlapping fiduciaries; (iv) the Debtors may have claims against

each other; and (v) the Proposed Plan is not in the best interest of the HoldCo Debtors’ estates.

See Mtn. at 55-59. None of these alleged issues rises to the level of “cause” to warrant the

“extraordinary” relief of appointing a chapter 11 trustee.

          26.       As explained above, the HoldCo Lenders are almost certainly not the HoldCo

Debtors’ only creditors, and the Freedom Lender Group itself contends that the Debtors’

obligations are not entirely separate. See Mtn. ¶ 15. Moreover, it is not unusual for affiliated

chapter 11 debtors to have overlapping fiduciaries or for intercompany claims to exist among

affiliated debtors; in such cases, a creditors’ committee – an independent fiduciary – is often tasked




     53. In Marvel, Carl Icahn took control of the debtors six months after its bankruptcy filing through a scorched-
     earth activist campaign, resulting in Mr. Icahn being both the debtors’ control person and one of its largest
     creditors. Marvel, 140 F.3d at 467. Mr. Icahn subsequently used his control over the debtor to engage in an
     acrimonious crusade against Marvel’s other creditors, which ultimately led to his removal. The facts of Marvel
     bear no resemblance to those here.



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with investigating those claims.10 See, e.g., Preliminary Report of the Official Committee of

Unsecured Creditors Regarding the Bankruptcy Estates’ Litigation Claims Against Neiman

Marcus Group, Inc., the Equity Sponsors and Directors of Neiman Marcus Group, Inc., and Other

Parties, Case No. 20-32519, D.I. 1346 (Bankr. S.D. Tex. Jul. 24, 2020) (appointing committee to

investigate and report on intercompany transactions where debtor management was allegedly

conflicted and/or unable to conduct an independent review of interdebtor claims); In re WorldCom,

Inc., 2003 Bankr. LEXIS 2192 *21-24 (Bankr. S.D.N.Y. 2003) (denying motion to appoint

examiner in multi-debtor case due to intercompany claims that could be investigated by the

creditors’ committee and finding “the majority of arguments raised by the Movants are more

properly characterized as objections to confirmation of the Plan.”); In re Allsun Juices, Inc., 34

B.R. 162 (Bankr. M.D. Fla. 1983) (denying motion to appoint a trustee to formulate plan for a

single debtor due to conflicts allegedly arising from intercompany claims because creditors could

pursue those claims and stating the court was “not aware of any provision of the Code which would

permit the appointment of a trustee for the sole purpose of depriving the Debtor of its right to the

120 days exclusivity period and if creditors desire to file a Plan, they certainly are entitled to do

so after the expiration of the exclusivity period and they do not need a trustee for that purpose.”).




10
     The Freedom Lender Group cites several cases in which a debtor’s fiduciaries had obvious conflicts of interest
     that a court determined would prevent the fiduciaries from fulfilling their duties to the debtor. See, e.g., Marvel,
     140 F.3d at 467 (debtor's control person was one of its largest creditors and used its position of control to engage
     in an acrimonious crusade against debtor’s other creditors); Sharon Steel, 871 F.3d at 1128 (appointing trustee
     when “management appears to have engaged on the eve of bankruptcy in a systematic syphoning of Sharon’s
     assets to other companies under common control”); In re Biolitic, Inc., 2013 Bankr. LEXIS 1377, at *32 (Bankr.
     D.N.J. Apr. 3, 2013) (finding extreme acrimony, multiple prepetition lawsuits and significant prepetition transfers
     to non-debtor entities under common ownership); In re Vascular Access Ctrs., L.P., 611 B.R. 742, 765 (Bankr.
     E.D. Pa. 2020) (appointing trustee when management orchestrated an involuntary petition using separate entities
     under common control to avoid grant of sanctions); In re 942 Penn RR, LLC, 642 B.R. 89 (Bankr. S.D. Fla. 2022)
     (appointing trustee in light of significant prepetition misconduct and unauthorized postpetition use of cash
     collateral to pay insiders, an improper attempt to dismiss bankruptcy, and a plan that only allowed insider secured
     creditors the opportunity to vote). The Freedom Lender Group has not alleged the existence of any similar
     conflicts here.



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          27.       Adelphia is again especially instructive. As mentioned above, a creditor group

moved to terminate exclusivity and to appoint a chapter 11 trustee for certain debtors in a large,

multi-debtor case, due to alleged conflicts of interest arising from intercompany claims among the

debtors. See Adelphia, 336 B.R. at 618. The creditor group’s counsel described the requested

relief as the “nuclear war button,” and the court found that granting such relief would have

“devastatingly adverse consequences . . . too numerous to list . . . .” Id. at 618. After conducting

a detailed analysis of sixteen large cases involving similar issues – none of which resulted in the

appointment of a trustee over a debtor’s objection – the court concluded that “interdebtor disputes

are common in multi-debtor chapter 11 cases. But the appointment of chapter 11 trustees to deal

with them is not.” Id. at 653.

          28.       The court further stated:

          Where interdebtor issues exist and are material, they cannot, of course, be swept
          under the rug. Even though consensual resolution is the normal (and preferred)
          practice, some means, consistent with fairness, due process, and appropriate
          advocacy, must be formulated to resolve them if those issues cannot be settled. But
          the means established to resolve them should be the least destructive available. And
          neither the interests of a debtor’s creditor body, nor the integrity of the bankruptcy
          system, can tolerate the use of motions like these as a tactic to assist creditor groups
          wishing to augment their personal recoveries.

Id. at 620; see also id. at 677-78 (“The bringing of motions like these is not unethical, or

sanctionable, but neither should it be encouraged, or rewarded. Motions that would bring on

intolerable consequences for an estate should not be used as a tactic to augment a particular

constituency’s recovery.”).

          29.       The appointment of a chapter 11 trustee – which would be expensive, disruptive,

and generally value-destructive to the Debtors’ estates – would also not be in the best interests of

all interested stakeholders so as to warrant relief under Section 1104(a)(2). See id. at 619 (movants

did “not come close to satisfying the requirements” for the appointment of a trustee, which would



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have been “antithetical to creditor interests, subjecting them to actual and potential prejudice in

many ways, with no corresponding benefit”) (emphasis in original). Two creditors’ alleged loss

of confidence in the Debtors’ management after just a few weeks into these Chapter 11 Cases does

not demonstrate that a chapter 11 trustee would be in the best interests of all interested parties.

This is especially true now that the Committee is in place and acting as a fiduciary of each Debtor’s

estate. In re YC Atlanta Hotel, LLC, 630 B.R. 348, 370 (Bankr. N.D. Ga. 2021) (denying motion

for trustee notwithstanding significant interdebtor claims and management’s acknowledged failure

to address those claims after management subsequently acknowledged their fiduciary obligations

and agreed to address the interdebtor transfers); see also 7 COLLIER ON BANKRUPTCY ¶ 1104.02

(16th ed. 2024) (“When current management is competent and able to adjust to its new obligations

under chapter 11, and when the creditors’ committee is functioning properly, there may in fact be

little or no benefit to the appointment of a trustee.”).

          30.       The Committee agrees with the Freedom Lender Group that the Proposed Plan is

not in the best interest of the Debtors’ estates and must be revised substantially. However, the

parties should be allowed a reasonable opportunity to resolve issues concerning the Proposed Plan,

without reaching immediately for the “nuclear war button” and causing “devastatingly adverse

consequences” for all involved. See Adelphia, 336 B.R. at 618.

          31.       While the Committee does not believe the Motion is ripe or that the relief requested

therein should be granted, the Committee does agree that all potentially viable claims must be

investigated and not released. The Committee – an independent fiduciary of each of the Debtors’

estates – is prepared to, and should be permitted the opportunity to, conduct those investigations

and report back to this Court. In short, while the Freedom Lender Group raises some valid

concerns, the Committee believes those concerns can be addressed without the appointment of a




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chapter 11 trustee or termination of the exclusivity period or the automatic stay – each of which

would be materially detrimental to these nascent Chapter 11 Cases.

                                          CONCLUSION

          WHEREFORE, the Committee respectfully requests that the Court (i) deny the relief

sought in the Motion without prejudice, (ii) enter an Order that directs the Committee to

immediately investigate alleged estate claims and submit a report of its findings to this Court, and

(iii) grant such other and further relief as the Court deems just and proper.

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 Dated:       December 3, 2024       Respectfully submitted,

                                     PACHULSKI STANG ZIEHL & JONES LLP

                                     /s/ Bradford J. Sandler
                                     Bradford J. Sandler, Esq.
                                     Colin R. Robinson, Esq.
                                     919 North Market Street, 17th Floor
                                     P.O. Box 8705
                                     Wilmington, DE 19899-8705 (Courier 19801)
                                     Telephone: (302) 652-4100
                                     Facsimile: (302) 652-4400
                                     Email:        bsandler@pszjlaw.com
                                                   crobinson@pszjlaw.com

                                     -and-

                                     Robert J. Feinstein, Esq. (admitted pro hac vice)
                                     Alan J. Kornfeld, Esq.    (admitted pro hac vice)
                                     Theodore S. Heckel, Esq. (admitted pro hac vice)
                                     780 Third Avenue, 34th Floor
                                     New York, NY 10017
                                     Telephone: (212) 561-7700
                                     Facsimile: (212) 561-7777
                                     Email:       rfeinstein@pszjlaw.com
                                                  akornfeld@pszjlaw.com
                                                  theckel@pszjlaw.com

                                     Proposed Counsel to the Official Committee
                                     of Unsecured Creditors




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